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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_____________________________________________

TROY ALEXANDER,

                                      Plaintiff,
                                                             5:17-cv-1195
v.                                                           (DNH/TWD)

CITY OF SYRACUSE, et al.,

                              Defendants
_____________________________________________


APPEARANCES:


K. FELICIA DAVIS, ESQ.
Counsel for Plaintiff

CHRISTINA F. DeJOSEPH, ESQ.
Counsel for Defendants City of Syracuse and Gilhooley

CAROL L. RHINEHART, ESQ.
Counsel for Defendant County of Onondaga

THÉRÈSE WILEY DANCKS, United States Magistrate Judge


                                               ORDER

       Presently before the Court in this action is Plaintiff’s motion to unseal Grand Jury records.

(Dkt. No. 63.) Defendant County of Onondaga opposes the motion. (Dkt. No. 65.) Defendants

City of Syracuse and Detective Gilhooley did not take any position on the motion.

       The Court held a telephone conference in which oral argument was conducted in connection

with the motion on January 28, 2020. At the close of argument I issued a bench decision wherein I

granted Plaintiff’s motion to unseal the relevant Grand Jury records, and I provided further detail
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regarding my reasoning and addressing the specific issues raised in the motion.

          After due deliberation, and based up the Court’s oral bench decision, which has been

transcribed, is attached to this Order and is incorporated in its entirety by reference herein, it is

hereby,

          ORDERED, that Plaintiff’s motion (Dkt. No. 63) and Plaintiff’s follow up letter motion

(Dkt. No. 78) seeking to unseal minutes of the subject Grand Jury proceedings are GRANTED; and

it is further

          ORDERED, that Defendant Onondaga County shall provide Plaintiff and the other

Defendants with a copy of the subject Grand Jury minutes and any accompanying records by

2/12/2020 pursuant to the parties’ confidentiality Order (Dkt. No. 24); and it is further

          ORDERED, that the pretrial discovery deadlines are reset as follows: fact discovery due

6/15/2020; fact discovery motions due 6/22/2020; Plaintiff’s expert disclosure due 7/13/2020;

Defendants’ expert disclosure due 8/24/2020; expert rebuttal due 9/8/2020; all expert discovery/all

discovery due 10/5/2020; expert discovery motions due 10/13/2020; dispositive motions due

11/9/2020.

SO ORDERED.


Dated: January 29, 2020
       Syracuse, New York




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   UNITED STATES DISTRICT COURT
   NORTHERN DISTRICT OF NEW YORK
   --------------------------------------------x
   TROY ALEXANDER,

                                   Plaintiff,
   vs.                              5:17-CV-1195

   CITY OF SYRACUSE, et al.,

                               Defendants.
   --------------------------------------------x
         Transcript of a Decision held during a

   Telephone Conference held on January 28, 2020, at
   the James Hanley Federal Building, 100 South Clinton

   Street, Syracuse, New York, the HONORABLE THÉRÈSE

   WILEY DANCKS, United States Magistrate Judge,
   Presiding.



                          A P P E A R A N C E S
                              (By Telephone)

   For Plaintiff:         K. FELICIA DAVIS, ESQ.
                          Attorney at Law
                          P.O. Box 591
                          Syracuse, New York 13201-3049

   For Defendant:         CITY OF SYRACUSE
   (City of Syr.,         CORPORATION COUNSEL
    Gilhooley)            233 East Washington Street
                          Room 300 City Hall
                          Syracuse, New York 13202
                            BY: CHRISTINA F. DeJOSEPH, ESQ.

   For Defendant:         COUNTY OF ONONDAGA
   (County of Onon.)      Department of Law
                          421 Montgomery Street, 10th Floor
                          Syracuse, New York 13202
                            BY: CAROL L. RHINEHART, ESQ.
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1                        (In Chambers, Counsel present by telephone.)
2                  THE COURT:    Presently before the court is

3       plaintiff's motion seeking to unseal grand jury minutes in

4       the criminal matter against plaintiff related to his claims
5       for illegal search and seizure, false arrest, and malicious

6       prosecution in this action.      The motion is found at Docket

7       63.   The defendant County filed opposition to the motion at
8       Docket Number 65.     The City defendants took no position on

9       the motion.    After due deliberation and consideration of the
10      parties' submissions and what I've heard today, the court

11      finds the following:

12                 The plaintiff's motion to unseal the subject grand
13      jury minutes is granted.      Federal Rule of Criminal Procedure

14      Rule 6(e)(3)(E)(i) authorizes a federal court to unseal grand

15      jury records, including state grand jury minutes.         I find the
16      subject grand jury minutes to be relevant and necessary to

17      plaintiff's Section 1983 claims and in order to avoid
18      injustice, the entirety of the record should be disclosed.

19                 Plaintiff previously sought the minutes from the

20      relevant county court but was denied access to them.             Here,
21      plaintiff has also made the requisite particularized need

22      showing that there is no other sufficient means to obtain the

23      information, and the need for disclosure outweighs the need
24      for secrecy of the grand jury proceedings.

25                 The subject grand jury records are necessary in



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1       regard to the timing of individuals and law enforcement
2       entering the subject premises and the timing of the searches

3       of the premises and the plaintiff's vehicles, all of which go

4       to the heart of whether the defendants had probable cause to
5       arrest plaintiff, search his residence, and prosecute the

6       plaintiff.

7                   Additionally, the court has -- or excuse me.
8       Additionally, the plaintiff has no ability to acquire the

9       information before the grand jury from any other source since
10      one of the main relevant witnesses, Lashauna Monahan, is

11      deceased and had apparently testified before the grand jury.

12                  I also find that the usual reasons for secrecy are
13      not impacted by the disclosure of the grand jury minutes I'm

14      ordering.    There's no need for secrecy to prevent the escape

15      of plaintiff or to ensure the freedom of grand jury
16      deliberations or to prevent subornation of perjury or

17      tampering with witnesses.
18                  I'll also add that New York's Criminal Procedure

19      Law has recently been amended, as of January 1, 2020, Section

20      245.20 of New York's Criminal Procedure Law now provides that
21      grand jury minutes are to be provided to a criminal defendant

22      as part of initial discovery.

23                  So plaintiff's motion at Docket Number 63 and the
24      follow-up letter motion at Docket Number 78 are granted, and

25      the defendant County shall turn over the grand jury minutes



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1       in their entirety by a date that I'm going to set in a few
2       minutes.   These records should be turned over pursuant to the

3       stipulated protective order found in Docket Number 24.           So as

4       I said at the outset, I'll issue an order and this ends the
5       part of the transcript that will be attached to the order and

6       incorporated by reference into it.

7                        (Whereupon the proceedings continued.)
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1                       CERTIFICATE OF OFFICIAL REPORTER
2

3

4            I, JODI L. HIBBARD, RPR, CRR, CSR, Federal
5       Official Realtime Court Reporter, in and for the

6       United States District Court for the Northern

7       District of New York, DO HEREBY CERTIFY that
8       pursuant to Section 753, Title 28, United States

9       Code, that the foregoing is a true and correct
10      transcript of the stenographically reported

11      proceedings held in the above-entitled matter and

12      that the transcript page format is in conformance
13      with the regulations of the Judicial Conference of

14      the United States.

15
16                             Dated this 28th day of January, 2020.

17
18

19                                      /S/ JODI L. HIBBARD

20                                      JODI L. HIBBARD, RPR, CRR, CSR
                                        Official U.S. Court Reporter
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